957 F.2d 796
    William Carroll RUSSELL, Jr., an individual, doing businessas Weekly Register-Call, Plaintiff-Appellant,v.Kay TURNBAUGH and Ruth Ann Andere, individuals;  KLTCommunications, Inc., a Colorado corporation, alsoknown as KLT Communications, Inc.,Defendants-Appellees.
    No. 91-1121.
    United States Court of Appeals,Tenth Circuit.
    Feb. 25, 1992.
    
      (D.C. No. 90-F-272) (D. Colorado), Sherman G. Finesilver--J.
      Before SEYMOUR, MOORE and BALDOCK, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Pursuant to Rule 42(b), Fed.R.App.P., and the stipulation submitted by the parties, this appeal is dismissed as moot.   The case is remanded to the district court with instructions to vacate its judgment and dismiss the complaint.   United States v. Munsingwear, Inc., 340 U.S. 36, 39-40 (1950);   Beattie v. United States, 949 F.2d 1092, 1095 (10th Cir.1991);   Tosco Corp. v. Hodel, 826 F.2d 948 (10th Cir.1987).
    
    
      2
      Each party shall bear its own costs and the mandate shall issue forthwith.
    
    